                Case 21-20936              Doc 1        Filed 10/04/21           Entered 10/04/21 13:05:37                    Page 1 of 36
                                                                                                                                                 10/04/21 1:03PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Stavro, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Village Pizza Restaurant & Lounge
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  22 Rt. 171                                                      P.O. Box 609
                                  Thompson, CT 06277                                              Putnam, CT 06260
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Windham                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 1
                 Case 21-20936               Doc 1          Filed 10/04/21           Entered 10/04/21 13:05:37                         Page 2 of 36
                                                                                                                                                    10/04/21 1:03PM

Debtor    Stavro, Inc.                                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 21-20936                    Doc 1         Filed 10/04/21            Entered 10/04/21 13:05:37                      Page 3 of 36
                                                                                                                                                                10/04/21 1:03PM

Debtor    Stavro, Inc.                                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Mike & Judy Stavropoulos                                      Relationship
                                                                 Connecticut Hartford
                                                     District    Division              When                                    Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
                Case 21-20936    Doc 1        Filed 10/04/21         Entered 10/04/21 13:05:37               Page 4 of 36
                                                                                                                                10/04/21 1:03PM

Debtor   Stavro, Inc.                                                              Case number (if known)
         Name


16. Estimated liabilities   $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
                 Case 21-20936            Doc 1        Filed 10/04/21             Entered 10/04/21 13:05:37                     Page 5 of 36
                                                                                                                                                    10/04/21 1:03PM

Debtor    Stavro, Inc.                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 4, 2021
                                                  MM / DD / YYYY


                             X   /s/ Judy Stavropolous                                                    Judy Stavropolous
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Anthony S. Novak                                                      Date October 4, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Anthony S. Novak
                                 Printed name

                                 Novak Law Office, P.C.
                                 Firm name

                                 280 Adams Street
                                 Manchester, CT 06042
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     860-432-7710                  Email address      anthonysnovak@aol.com

                                 ct09074 CT
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
              Case 21-20936                    Doc 1           Filed 10/04/21             Entered 10/04/21 13:05:37             Page 6 of 36
                                                                                                                                                 10/04/21 1:03PM




 Fill in this information to identify the case:

 Debtor name         Stavro, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 4, 2021                         X /s/ Judy Stavropolous
                                                                       Signature of individual signing on behalf of debtor

                                                                       Judy Stavropolous
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                Case 21-20936                            Doc 1              Filed 10/04/21                         Entered 10/04/21 13:05:37                                       Page 7 of 36
                                                                                                                                                                                                      10/04/21 1:03PM


 Fill in this information to identify the case:

 Debtor name            Stavro, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $                339.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $                339.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $            59,071.81

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$            99,334.54


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $             158,406.35




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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              Case 21-20936                    Doc 1           Filed 10/04/21      Entered 10/04/21 13:05:37                   Page 8 of 36
                                                                                                                                                     10/04/21 1:03PM


 Fill in this information to identify the case:

 Debtor name         Stavro, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $339.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number

 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $339.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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              Case 21-20936                    Doc 1           Filed 10/04/21      Entered 10/04/21 13:05:37          Page 9 of 36
                                                                                                                                   10/04/21 1:03PM



 Debtor         Stavro, Inc.                                                                 Case number (If known)
                Name

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 2
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              Case 21-20936                       Doc 1           Filed 10/04/21                     Entered 10/04/21 13:05:37                       Page 10 of 36
                                                                                                                                                                          10/04/21 1:03PM



 Debtor          Stavro, Inc.                                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $339.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                   $339.00        + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                      $339.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 3
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             Case 21-20936                    Doc 1          Filed 10/04/21    Entered 10/04/21 13:05:37                   Page 11 of 36
                                                                                                                                                10/04/21 1:03PM


 Fill in this information to identify the case:

 Debtor name         Stavro, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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              Case 21-20936                   Doc 1          Filed 10/04/21                   Entered 10/04/21 13:05:37                 Page 12 of 36
                                                                                                                                                              10/04/21 1:03PM


 Fill in this information to identify the case:

 Debtor name         Stavro, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $1.00      $1.00
           Internal Revenue Service                                  Check all that apply.
           Attn: Special Procedures                                     Contingent
           135 High Street, Stop 155                                    Unliquidated
           Hartford, CT 06103                                           Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $24,074.11          $24,074.11
           State of Connecticut                                      Check all that apply.
           Dept. of Revenue Services                                    Contingent
           C&E Division, Bankruptcy Unit                                Unliquidated
           450 Columbus Blvd., Suite 1                                  Disputed
           Hartford, CT 06103
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 5
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             Case 21-20936                    Doc 1          Filed 10/04/21                   Entered 10/04/21 13:05:37                             Page 13 of 36
                                                                                                                                                                      10/04/21 1:03PM


 Debtor       Stavro, Inc.                                                                                    Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $34,995.70    $34,995.70
           State of Connecticut                                      Check all that apply.
           Department of Labor, ESQ                                     Contingent
           Attn: Delinquest Accounts Unit                               Unliquidated
           PO Box 2940                                                  Disputed
           Hartford, CT 06104
           Date or dates debt was incurred                           Basis for the claim:
                                                                     941's
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $1.00    $1.00
           Town of Woodstock                                         Check all that apply.
           Attn: Tax Collector                                          Contingent
           415 Rte. 169                                                 Unliquidated
           Woodstock, CT 06281                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $719.61
           Allan S. Goodman Inc.                                                       Contingent
           Attn: President                                                             Unliquidated
           180 Goodwin Street                                                          Disputed
           East Hartford, CT 06108
                                                                                   Basis for the claim:     vendor
           Date(s) debt was incurred
           Last 4 digits of account number      1991                               Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $455.06
           Coca-Cola Beverages Northeast                                               Contingent
           Attn: President                                                             Unliquidated
           P.O. Box 419784                                                             Disputed
           Boston, MA 02241
                                                                                   Basis for the claim:     vendor
           Date(s) debt was incurred
           Last 4 digits of account number      0995                               Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,095.40
           Connecticut Distributors Inc.                                               Contingent
           Attn: Presidnet                                                             Unliquidated
           333 Lordship Boulevard                                                      Disputed
           Stratford, CT 06615
                                                                                   Basis for the claim:     vendor
           Date(s) debt was incurred
           Last 4 digits of account number      9778                               Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 5
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             Case 21-20936                    Doc 1          Filed 10/04/21            Entered 10/04/21 13:05:37                              Page 14 of 36
                                                                                                                                                            10/04/21 1:03PM


 Debtor       Stavro, Inc.                                                                            Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,812.20
          Hartley & Parker Limited Inc.                                         Contingent
          Attn: President                                                       Unliquidated
          100 Browning Street                                                   Disputed
          Stratford, CT 06497
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       4367                         Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Judy Stavropoulos                                                     Contingent
          P.O. Box 198                                                          Unliquidated
          Woodstock, CT 06281                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loan to business
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,326.84
          Levine Distributing Company                                           Contingent
          Attn: President                                                       Unliquidated
          15 Stott Avenue                                                       Disputed
          Norwich, CT 06360
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $370.65
          Liberty Store                                                         Contingent
          Attn: President                                                       Unliquidated
          426 E. Main Street                                                    Disputed
          Norwich, CT 06360
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,257.81
          New England Coffee                                                    Contingent
          Attn: President                                                       Unliquidated
          100 Charles Street                                                    Disputed
          Malden, MA 02148
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       9461                         Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,103.30
          Pinecroft Paving & Landscape                                          Contingent
          Attn: President                                                       Unliquidated
          159 Butts Road                                                        Disputed
          Woodstock, CT 06281
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,324.17
          Republic Services                                                     Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 9001099                                                      Disputed
          Louisville, KY 40290
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       5645                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 5
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             Case 21-20936                    Doc 1          Filed 10/04/21            Entered 10/04/21 13:05:37                              Page 15 of 36
                                                                                                                                                                10/04/21 1:03PM


 Debtor       Stavro, Inc.                                                                            Case number (if known)
              Name

 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $154.13
           Rogo Distributors
           Div. of Allan S. Goodman, Inc.                                       Contingent
           Attn: President                                                      Unliquidated
           65 Roberts Street                                                    Disputed
           East Hartford, CT 06108
                                                                             Basis for the claim:    vendor
           Date(s) debt was incurred
           Last 4 digits of account number      1213                         Is the claim subject to offset?         No     Yes


 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $6,715.37
           Sysco Connecticut LLC                                                Contingent
           Attn: President                                                      Unliquidated
           P.O. Box 4003                                                        Disputed
           Rocky Hill, CT 06067
                                                                             Basis for the claim:    vendor
           Date(s) debt was incurred
           Last 4 digits of account number      4924                         Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Christine Sciarrino Esq
           Asst. U.S. Attorney                                                                        Line     2.1
           1000 Lafayette Blvd
                                                                                                             Not listed. Explain
           10th Floor
           Bridgeport, CT 06601

 4.2       Internal Revenue Service
           Centralized Insolvency Office                                                              Line     2.1
           P.O. Box 7346
                                                                                                             Not listed. Explain
           Philadelphia, PA 19101

 4.3       Internal Revenue Service
           Attn: Anne Thidemann Esq                                                                   Line     2.1
           Asst. U.S. Attorney
                                                                                                             Not listed. Explain
           1000 Lafayette Blvd 10th Fl
           Bridgeport, CT 06604

 4.4       Stuart Margolis
           Berdon Young & Margolis PC                                                                 Line     3.4
           350 Orange Street 2nd Fl
                                                                                                             Not listed. Explain
           New Haven, CT 06511

 4.5       United States of America
           Internal Revenue Service                                                                   Line     2.1
           Centralized Insolvency Office
                                                                                                             Not listed. Explain
           P.O. Box 21126
           Philadelphia, PA 19114


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                       59,071.81
 5b. Total claims from Part 2                                                                            5b.    +     $                       99,334.54



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 5
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             Case 21-20936                    Doc 1          Filed 10/04/21           Entered 10/04/21 13:05:37            Page 16 of 36
                                                                                                                                             10/04/21 1:03PM


 Debtor       Stavro, Inc.                                                                        Case number (if known)
              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $              158,406.35




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                Page 5 of 5
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             Case 21-20936                    Doc 1          Filed 10/04/21    Entered 10/04/21 13:05:37                     Page 17 of 36
                                                                                                                                                 10/04/21 1:03PM


 Fill in this information to identify the case:

 Debtor name         Stavro, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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             Case 21-20936                    Doc 1          Filed 10/04/21   Entered 10/04/21 13:05:37                  Page 18 of 36
                                                                                                                                               10/04/21 1:03PM


 Fill in this information to identify the case:

 Debtor name         Stavro, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Judy                              P.O. Box 198                                      Allan S. Goodman                   D
             Stavropoulos                      Woodstock, CT 06281                               Inc.                               E/F       3.1
                                                                                                                                    G




    2.2      Judy                              P.O. Box 198                                      Coca-Cola Beverages                D
             Stavropoulos                      Woodstock, CT 06281                               Northeast                          E/F       3.2
                                                                                                                                    G




    2.3      Judy                              P.O. Box 198                                      Connecticut                        D
             Stavropoulos                      Woodstock, CT 06281                               Distributors Inc.                  E/F       3.3
                                                                                                                                    G




    2.4      Judy                              P.O. Box 198                                      Hartley & Parker                   D
             Stavropoulos                      Woodstock, CT 06281                               Limited Inc.                       E/F       3.4
                                                                                                                                    G




    2.5      Judy                              P.O. Box 198                                      Internal Revenue                   D
             Stavropoulos                      Woodstock, CT 06281                               Service                            E/F       2.1
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 5
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             Case 21-20936                    Doc 1          Filed 10/04/21   Entered 10/04/21 13:05:37             Page 19 of 36
                                                                                                                                       10/04/21 1:03PM



 Debtor       Stavro, Inc.                                                               Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Judy                              P.O. Box 198                                   Levine Distributing           D
             Stavropoulos                      Woodstock, CT 06281                            Company                       E/F       3.6
                                                                                                                            G




    2.7      Judy                              P.O. Box 198                                   Liberty Store                 D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       3.7
                                                                                                                            G




    2.8      Judy                              P.O. Box 198                                   New England Coffee            D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       3.8
                                                                                                                            G




    2.9      Judy                              P.O. Box 198                                   Pinecroft Paving &            D
             Stavropoulos                      Woodstock, CT 06281                            Landscape                     E/F       3.9
                                                                                                                            G




    2.10     Judy                              P.O. Box 198                                   Republic Services             D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       3.10
                                                                                                                            G




    2.11     Judy                              P.O. Box 198                                   Rogo Distributors             D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       3.11
                                                                                                                            G




    2.12     Judy                              P.O. Box 198                                   State of Connecticut          D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       2.2
                                                                                                                            G




    2.13     Judy                              P.O. Box 198                                   State of Connecticut          D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       2.3
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 2 of 5
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             Case 21-20936                    Doc 1          Filed 10/04/21   Entered 10/04/21 13:05:37             Page 20 of 36
                                                                                                                                       10/04/21 1:03PM



 Debtor       Stavro, Inc.                                                               Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Judy                              P.O. Box 198                                   Sysco Connecticut             D
             Stavropoulos                      Woodstock, CT 06281                            LLC                           E/F       3.12
                                                                                                                            G




    2.15     Judy                              P.O. Box 198                                   Town of Woodstock             D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       2.4
                                                                                                                            G




    2.16     Mike                              P.O. Box 198                                   Allan S. Goodman              D
             Stavropoulos                      Woodstock, CT 06281                            Inc.                          E/F       3.1
                                                                                                                            G




    2.17     Mike                              P.O. Box 198                                   Coca-Cola Beverages           D
             Stavropoulos                      Woodstock, CT 06281                            Northeast                     E/F       3.2
                                                                                                                            G




    2.18     Mike                              P.O. Box 198                                   Connecticut                   D
             Stavropoulos                      Woodstock, CT 06281                            Distributors Inc.             E/F       3.3
                                                                                                                            G




    2.19     Mike                              P.O. Box 198                                   Hartley & Parker              D
             Stavropoulos                      Woodstock, CT 06281                            Limited Inc.                  E/F       3.4
                                                                                                                            G




    2.20     Mike                              P.O. Box 198                                   Internal Revenue              D
             Stavropoulos                      Woodstock, CT 06281                            Service                       E/F       2.1
                                                                                                                            G




    2.21     Mike                              P.O. Box 198                                   Levine Distributing           D
             Stavropoulos                      Woodstock, CT 06281                            Company                       E/F       3.6
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 3 of 5
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             Case 21-20936                    Doc 1          Filed 10/04/21   Entered 10/04/21 13:05:37            Page 21 of 36
                                                                                                                                       10/04/21 1:03PM



 Debtor       Stavro, Inc.                                                               Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     Mike                              P.O. Box 198                                   Liberty Store                 D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       3.7
                                                                                                                            G




    2.23     Mike                              P.O. Box 198                                   New England Coffee            D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       3.8
                                                                                                                            G




    2.24     Mike                              P.O. Box 198                                   Pinecroft Paving &            D
             Stavropoulos                      Woodstock, CT 06281                            Landscape                     E/F       3.9
                                                                                                                            G




    2.25     Mike                              P.O. Box 198                                   Republic Services             D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       3.10
                                                                                                                            G




    2.26     Mike                              P.O. Box 198                                   Rogo Distributors             D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       3.11
                                                                                                                            G




    2.27     Mike                              P.O. Box 198                                   State of Connecticut          D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       2.2
                                                                                                                            G




    2.28     Mike                              P.O. Box 198                                   State of Connecticut          D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       2.3
                                                                                                                            G




    2.29     Mike                              P.O. Box 198                                   Sysco Connecticut             D
             Stavropoulos                      Woodstock, CT 06281                            LLC                           E/F       3.12
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 4 of 5
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             Case 21-20936                    Doc 1          Filed 10/04/21   Entered 10/04/21 13:05:37           Page 22 of 36
                                                                                                                                       10/04/21 1:03PM



 Debtor       Stavro, Inc.                                                               Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.30     Mike                              P.O. Box 198                                   Town of Woodstock             D
             Stavropoulos                      Woodstock, CT 06281                                                          E/F       2.4
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 5 of 5
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             Case 21-20936                    Doc 1          Filed 10/04/21            Entered 10/04/21 13:05:37                     Page 23 of 36
                                                                                                                                                         10/04/21 1:03PM




 Fill in this information to identify the case:

 Debtor name         Stavro, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                 $70,105.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $130,916.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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              Case 21-20936                   Doc 1          Filed 10/04/21            Entered 10/04/21 13:05:37                        Page 24 of 36
                                                                                                                                                            10/04/21 1:03PM

 Debtor       Stavro, Inc.                                                                              Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    LEVINE DISTRIBUTING                               Small Claims               Judicial District of                         Pending
               COMPANY, INC. v.                                                             Windham                                      On appeal
               STAVROPOULOUS, MIKE                                                          Attn: Clerk
                                                                                                                                         Concluded
               KNL-CV20-6047641-S                                                           155 Church Street
                                                                                            Putnam, CT 06260


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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             Case 21-20936                    Doc 1          Filed 10/04/21               Entered 10/04/21 13:05:37                     Page 25 of 36
                                                                                                                                                      10/04/21 1:03PM

 Debtor        Stavro, Inc.                                                                                 Case number (if known)




           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Novak Law Office, PC
                 280 Adams Street
                 Manchester, CT 06042                                retainer and filing fees                                  9/9/2020               $1,835.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers        Total amount or
                                                                                                                         were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer       Total amount or
                Address                                          payments received or debts paid in exchange                was made                     value
       13.1 Unrelated 3rd Party                                  2 freezers, pizza oven, toaster, slicer
       .                                                         machine, deep fryer                                        March 2020                  $800.00

                Relationship to debtor




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
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              Case 21-20936                   Doc 1          Filed 10/04/21            Entered 10/04/21 13:05:37                     Page 26 of 36
                                                                                                                                                        10/04/21 1:03PM

 Debtor       Stavro, Inc.                                                                              Case number (if known)



               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.2                                                      food & liquor inventories, ice machine, 2
       .                                                         walk-in coolers, tables & chairs, cash
                                                                 register, dishes, silverware, glasses,
               Unrelated 3rd Party                               soda machine - all items left on premises
                                                                 and/or dumpster                                         Mach 2020                            $0.00

               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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             Case 21-20936                    Doc 1          Filed 10/04/21            Entered 10/04/21 13:05:37                  Page 27 of 36
                                                                                                                                                     10/04/21 1:03PM

 Debtor        Stavro, Inc.                                                                             Case number (if known)



                 Financial Institution name and                  Last 4 digits of         Type of account or          Date account was           Last balance
                 Address                                         account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     Bank Hometown                                   XXXX-6476                   Checking                 4/14/2020                        $138.68
                 Attn: Manager                                                               Savings
                 148 Route 171
                                                                                             Money Market
                 Woodstock, CT 06281
                                                                                             Brokerage
                                                                                             Other

       18.2.     Bank Hometown                                   XXXX-4601                   Checking                 10/5/2020                        $333.79
                 Attn: Manager                                                               Savings
                 148 Route 171
                                                                                             Money Market
                 Woodstock, CT 06281
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
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             Case 21-20936                    Doc 1          Filed 10/04/21            Entered 10/04/21 13:05:37                        Page 28 of 36
                                                                                                                                                                10/04/21 1:03PM

 Debtor      Stavro, Inc.                                                                               Case number (if known)




            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Irwin Kalmer CPA                                                                                                           Apr 1972 - Mar 2020
                    12 Smith Avenue
                    Greenville, RI 02828

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Irwin Kalmer CPA
                    12 Smith Avenue
                    Greenville, RI 02828

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 6
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             Case 21-20936                    Doc 1          Filed 10/04/21            Entered 10/04/21 13:05:37                    Page 29 of 36
                                                                                                                                                       10/04/21 1:03PM

 Debtor      Stavro, Inc.                                                                               Case number (if known)




              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Judy Stavropoulos                              P.O. Box 198                                         owner/manager                        100
                                                      Woodstock, CT 06281



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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             Case 21-20936                    Doc 1          Filed 10/04/21            Entered 10/04/21 13:05:37                 Page 30 of 36
                                                                                                                                               10/04/21 1:03PM

 Debtor      Stavro, Inc.                                                                               Case number (if known)




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 4, 2021

 /s/ Judy Stavropolous                                                  Judy Stavropolous
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 8
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             Case 21-20936                    Doc 1          Filed 10/04/21    Entered 10/04/21 13:05:37                     Page 31 of 36
                                                                                                                                                10/04/21 1:03PM

B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     District of Connecticut
 In re       Stavro, Inc.                                                                                     Case No.
                                                                               Debtor(s)                      Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,500.00
             Prior to the filing of this statement I have received                                        $                     1,500.00
             Balance Due                                                                                  $                        0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Reference is hereby made to the Bankruptcy Retainer Agreement dated August 26, 2020 for description of
                 services and compensation to be paid.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               All services contemplated to be provided by the undersigned attorney shall be and are hereby limited to legal
               representation afforded the client in the United States Bankruptcy Courts, District of Connecticut pertaining to
               the Chapter 7 case described above. Under no cirumstances shall this agreement be construed to impose a
               professional obligation or duty upon the attorney to represent the client in related or unrelated matters which
               matters are in the proper jurisdiction of the Superior Courts of the State of Connecticut.

                  Representation of the Debtor in an adversary proceeding and/or a contested matter including but not limited to
                  motion pursuant to sec. 522(f) and sec. 506 requries a separate attorney's fee to be paid on an hourly rate retainer
                  basis, which is in addition to the fee referenced in this Disclosure of Compensation of Attorney for Debtor. The
                  undersigned attorney is not responsible, nor obligated to any way, to undertake representation of the Debtor in
                  any adversary proceeding, unless separately retained to do so.
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 4, 2021                                                          /s/ Anthony S. Novak
     Date                                                                     Anthony S. Novak
                                                                              Signature of Attorney
                                                                              Novak Law Office, P.C.
                                                                              280 Adams Street
                                                                              Manchester, CT 06042
                                                                              860-432-7710 Fax: 860-432-7724
                                                                              anthonysnovak@aol.com
                                                                              Name of law firm



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             Case 21-20936                    Doc 1          Filed 10/04/21         Entered 10/04/21 13:05:37    Page 32 of 36
                                                                                                                                   10/04/21 1:03PM




                                                               United States Bankruptcy Court
                                                                     District of Connecticut
 In re      Stavro, Inc.                                                                              Case No.
                                                                                Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       October 4, 2021                                         /s/ Judy Stavropolous
                                                                     Judy Stavropolous/President
                                                                     Signer/Title




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    Case 21-20936   Doc 1   Filed 10/04/21   Entered 10/04/21 13:05:37   Page 33 of 36



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                        Allan S. Goodman Inc.
                        Attn: President
                        180 Goodwin Street
                        East Hartford, CT 06108


                        Christine Sciarrino Esq
                        Asst. U.S. Attorney
                        1000 Lafayette Blvd
                        10th Floor
                        Bridgeport, CT 06601


                        Coca-Cola Beverages Northeast
                        Attn: President
                        P.O. Box 419784
                        Boston, MA 02241


                        Connecticut Distributors Inc.
                        Attn: Presidnet
                        333 Lordship Boulevard
                        Stratford, CT 06615


                        Hartley & Parker Limited Inc.
                        Attn: President
                        100 Browning Street
                        Stratford, CT 06497


                        Internal Revenue Service
                        Attn: Special Procedures
                        135 High Street, Stop 155
                        Hartford, CT 06103


                        Internal Revenue Service
                        Centralized Insolvency Office
                        P.O. Box 7346
                        Philadelphia, PA 19101


                        Internal Revenue Service
                        Attn: Anne Thidemann Esq
                        Asst. U.S. Attorney
                        1000 Lafayette Blvd 10th Fl
                        Bridgeport, CT 06604


                        Levine Distributing Company
                        Attn: President
                        15 Stott Avenue
                        Norwich, CT 06360
Case 21-20936   Doc 1   Filed 10/04/21   Entered 10/04/21 13:05:37   Page 34 of 36




                    Liberty Store
                    Attn: President
                    426 E. Main Street
                    Norwich, CT 06360


                    New England Coffee
                    Attn: President
                    100 Charles Street
                    Malden, MA 02148


                    Pinecroft Paving & Landscape
                    Attn: President
                    159 Butts Road
                    Woodstock, CT 06281


                    Republic Services
                    Attn: President
                    P.O. Box 9001099
                    Louisville, KY 40290


                    Rogo Distributors
                    Div. of Allan S. Goodman, Inc.
                    Attn: President
                    65 Roberts Street
                    East Hartford, CT 06108


                    State of Connecticut
                    Dept. of Revenue Services
                    C&E Division, Bankruptcy Unit
                    450 Columbus Blvd., Suite 1
                    Hartford, CT 06103


                    State of Connecticut
                    Department of Labor, ESQ
                    Attn: Delinquest Accounts Unit
                    PO Box 2940
                    Hartford, CT 06104


                    Stuart Margolis
                    Berdon Young & Margolis PC
                    350 Orange Street 2nd Fl
                    New Haven, CT 06511


                    Sysco Connecticut LLC
                    Attn: President
                    P.O. Box 4003
                    Rocky Hill, CT 06067
Case 21-20936   Doc 1   Filed 10/04/21   Entered 10/04/21 13:05:37   Page 35 of 36




                    Town of Woodstock
                    Attn: Tax Collector
                    415 Rte. 169
                    Woodstock, CT 06281


                    United States of America
                    Internal Revenue Service
                    Centralized Insolvency Office
                    P.O. Box 21126
                    Philadelphia, PA 19114
             Case 21-20936                    Doc 1          Filed 10/04/21       Entered 10/04/21 13:05:37         Page 36 of 36
                                                                                                                                  10/04/21 1:03PM




                                                               United States Bankruptcy Court
                                                                      District of Connecticut
 In re      Stavro, Inc.                                                                                 Case No.
                                                                                 Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Stavro, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 4, 2021                                                     /s/ Anthony S. Novak
 Date                                                                Anthony S. Novak
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Stavro, Inc.
                                                                     Novak Law Office, P.C.
                                                                     280 Adams Street
                                                                     Manchester, CT 06042
                                                                     860-432-7710 Fax:860-432-7724
                                                                     anthonysnovak@aol.com




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